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                                                                        Return Date: August 8th, 2017
                                                                        Time: 1:25 P.M.
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                  Chapter 13
                                                                  Case No. 17-35930 CGM
SUSANNAH R. APPELBAUM,
                                                                  NOTICE OF MOTION
                                         Debtor(s)
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                    PLEASE TAKE NOTICE, that upon the annexed application of Jeffrey L. Sapir

 the Chapter 13 Trustee herein, a motion pursuant to Rule 4004 will be made before the Hon.

Cecelia G. Morris, United States Bankruptcy Judge, at the United States Courthouse, located at

355 Main Street, Poughkeepsie, New York, on the 8th day of August, 2017, at 1:25 P.M. for an

order pursuant to Bankruptcy Code §§1328(f)(1) denying the debtor a discharge in the instant

case since the debtor received a prior discharge in a chapter 7 case during the four (4) year period

preceding the order for relief in this case; and for such other and further relief as this Court may

deem just and proper.

                    PLEASE TAKE FURTHER NOTICE, that answering papers, if any, are to be

served on the undersigned and filed with the Court no later than three (3) days prior to the return

date of this motion, and (a) must comply with the Bankruptcy Court's electronic filing system in

accordance with General Order M-242 and Supplemental General Order M-269.

Dated: White Plains, New York
       June 30th, 2017
                                                                  /s/ Jeffrey L. Sapir_______
                                                                  Jeffrey L. Sapir, Esq. (JLS 0938)
                                                                  Chapter 13 Trustee
                                                                  399 Knollwood Road
                                                                  White Plains, New York 10603
                                                                  Chapter 13 Tel. No. 914-328-6333
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TO:   United States Trustee
      74 Chapel Street
      Albany, New York 12207

      Susannah R. Appelbaum
      360 Springtown Road
      New Paltz, New York 12561

      H. Bruce Bronson, Jr., Esq.
      480 Mamaroneck Avenue
      Harrison, New York 10528

      U. S. Bank Trust NA
      c/o Rosicki, Rosicki & Associates, PC
      51 East Bethpage Road
      Plainview, New York 11803

      Bayview Loan Servicing, LLC
      c/o Fein Such & Crane, LLP
      1400 Old Country Road X C104
      Westbury, New York 11590

      M & T Bank
      P.O. Box 62182
      Baltimore, Maryland 21264

      Wells Fargo Bank, NA
      3415 Vision Drive
      Columbus, Ohio 43219

      Wells Fargo Bank, NA
      Home Equity Group
      One Home Campus X2303-01A
      Des Moines, Iowa 50328
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                  Chapter 13
                                                                  Case No. 17-35930 CGM
SUSANNAH R. APPELBAUM,
                                                                  APPLICATION
                                         Debtor(s)
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

TO THE HON. CECELIA G. MORRIS, BANKRUPTCY JUDGE:

Jeffrey L. Sapir alleges:

          1.        That the is the Standing Chapter 13 Trustee for the Southern District of New York

and is fully familiar with the facts and circumstances surrounding this case.

          2.        On May 29th, 2017, the debtor filed a voluntary petition under Chapter 13.

          3.        The debtor heretofore filed a Chapter 7 case on November 11, 2016 bearing case

number 16-36928 CGM and received a discharge on February 16, 2017.

          4.        11 U.S.C.§1328(f)(1) provides that the Court shall not grant a discharge of all

debts provided for in the plan or disallowed under §502, if the debtor has received a discharge in

a case filed under chapters 7, 11 or 12 of this title during the four year period preceding the date

of the order for relief under this chapter.

          5.        The debtor fails to qualify for a discharge in the instant case.

          WHEREFORE, it is respectfully prayed that this Court not grant a discharge to the

above-named debtor upon the completion of the plan; and for such other and further relief as this

Court deems appropriate.

Dated: White Plains, New York
       June 30th, 2017                                            /s/ Jeffrey L. Sapir
                                                                  Jeffrey L. Sapir
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                                  Chapter 13
                                                                        Case No. 17-35930 CGM
SUSANNAH R. APPELBAUM,

                                                   Debtor(s)
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                                        AFFIDAVIT OF MAILING

STATE OF NEW YORK                                 )
COUNTY OF WESTCHESTER                             ) ss.:

                    Lois Rosemarie Esposito, being duly sworn, deposes and says:

                    I am not a party to the action herein, I am over the age of 18 years and reside in

the County of Westchester, State of New York.

                    On June 30th, 2017 I served a true copy of the within document, to the herein

listed parties at the address(es) designated for that purpose, by mailing same in a properly sealed

envelope with postage prepaid thereon, in an official depository of the United States Postal

Service within the State of New York to the following:

TO:       United States Trustee
          74 Chapel Street
          Albany, New York 12207

           Susannah R. Appelbaum
          360 Springtown Road
          New Paltz, New York 12561

          H. Bruce Bronson, Jr., Esq.
          480 Mamaroneck Avenue
          Harrison, New York 10528

          U. S. Bank Trust NA
          c/o Rosicki, Rosicki & Associates, PC
          51 East Bethpage Road
          Plainview, New York 11803
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       Wells Fargo Bank, NA
       3415 Vision Drive
       Columbus, Ohio 43219

       Wells Fargo Bank, NA
       Home Equity Group
       One Home Campus X2303-01A
       Des Moines, Iowa 50328



                                                             /s/ Lois Rosemarie Esposito
                                                             Lois Rosemarie Esposito
Sworn to before me this
30th day of June, 2017

/s/ Jeffrey L. Sapir
Jeffrey L. Sapir
Notary Public, State of New York
No.02SA8764500
Qualified in Rockland County
Term Expires: 12/31/18
